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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X                                          10/15/2020
UNITED STATES OF AMERICA,        :
                                 :
                                 :                       18 CR 512 (VM)
          -against-              :                     DECISION AND ORDER
                                 :
IGOR GOLDSHTEYN,                 :
                                 :
                  Defendant.     :
---------------------------------X
VICTOR MARRERO, U.S.D.J.:

     On    December        7,     2018,        defendant      Igor     Goldshteyn

(“Goldshteyn”) was sentenced to five years of probation upon

pleading guilty to one count of theft of federal funds in

violation of 18 U.S.C. § 666(a)(1)(A). (See Dkt. No. 23.)

     Before the Court is a                sealed letter from the U.S.

Probation Department dated September 25, 2020, recommending

early termination of Goldshteyn’s probation. In a sealed

letter submitted on October 13, 2020, the Government opposes

this recommendation. The recommendation is hereby denied.

     Early     termination           of   probation     is      appropriate   to

“account     for     new        or     unforeseen      circumstances”         not

contemplated    at   the        initial    imposition      of    the   sentence.

United States v. Lussier, 104 F.3d 32, 36 (2d Cir.1997)

(considering    analogous            request    for   early     termination   of

supervised release); see also United States v. Dwyer, 15 Cr.

385, 2019 WL 3242308, at *2 (S.D.N.Y. July 3, 2019) (applying

the same principle in probation context). Only “occasionally”
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is early termination warranted when a defendant’s “changed

circumstances” render the previously imposed term “either too

harsh   or     inappropriately       tailored         to    serve”   general

punishment goals. Lussier, 104 F.3d at 36.

      In its recommendation here, Probation does not set forth

any changed circumstances which undermine the appropriateness

of the terms or length of Goldshteyn’s probation. Nor is the

Court persuaded that it should modify its prior consideration

of the sentencing factors in 18 U.S.C. Section 3553(a). While

the   Court    commends     Goldshteyn’s       positive      adjustment    to

probation and his satisfaction of the fine and restitution

imposed, compliance with the terms of his probation is not an

appropriate basis to terminate Goldshteyn’s five-year term,

of which he has served less than two years. See Dwyer, 2019

WL 3242308, at *2 (“[A] defendant’s full compliance with the

terms of probation, without more, generally does not warrant

early discharge from probation.”); United States v. Sheckley,

129 F.3d 114 (2d Cir. 1997) (explaining defendant was “not

entitled      to   early    termination        simply      because   he   has

successfully       served   a   portion   of    his     supervised   release

term”); Karacsonyi v. United States, 152 F.3d 918 (2d Cir.

1998) (affirming denial of early termination where defendant

complied with the terms and conditions of release in part

because “[f]ull compliance . . . is merely what is expected”).
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    Accordingly, it is hereby

    ORDERED     that   the   recommendation     of    the   Probation

Department    proposing   early   termination    of    probation   of

defendant Igor Goldshteyn is DENIED.

SO ORDERED.

Dated: New York, New York
       15 October 2020


                                       _______________________
                                             Victor Marrero
                                                U.S.D.J.
